 In an action to foreclose a mortgage, the plaintiff appeals from so much of an order of the Supreme Court, Kings County (Baily-Schiffman, J.), dated March 13, 2015, as granted the motion of the defendant Jose Luis Rodriguez-Cardona pursuant to CPLR 3211 (a) (5) to dismiss the complaint insofar as asserted against him as time-barred. Ordered that the appeal is dismissed as academic, with costs to the appellant, in light of our decision and order in Option One Mtge. v Rodriguez-Cardona (153 AD3d 1422 [2017] [decided herewith]). Our reinstatement of the complaint in Option One Mtge. v Rodriguez-Cardona (153 AD3d 1422 [2017] [decided herewith]), along with the substitution of the plaintiff as the named plaintiff therein, renders this appeal academic (see RPAPL 1301 [3]; Aurora Loan Servs., LLC v Reid, 132 AD3d 788 [2015]). Chambers, J.P., Miller, Barros and Connolly, JJ., concur. 